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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,      )              CR. NO. 07-00108-06 DAE
                               )
          Plaintiff,           )
                               )
     vs.                       )
                               )
CHRISTOPHER J. PAAU,      (06) )
                               )
          Defendant.           )
_____________________________ )

  ACCEPTANCE OF PLEA OF GUILTY, ADJUDICATION OF GUILT AND
                   NOTICE OF SENTENCING

             Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there has been no timely objection, the plea of guilty of

the Defendant to Counts 1 through 4 of the Indictment is now Accepted and the

Defendant is Adjudged Guilty of such offenses. All parties shall appear before this

Court for sentencing as directed.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, May 24, 2007.




                                       _____________________________
                                       David Alan Ezra
                                       United States District Judge
